                               UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF TENNESSEE
                                    NASHVILLE DIVISION


UNITED STATES OF AMERICA                       )
                                               )
v.                                             )        NO. 3:10-00258
                                               )        JUDGE CAMPBELL
VICENTE ARELLANO GARCIA                        )


                                               ORDER


          The sentencing hearing in this case is set for October 5, 2012, at 9:00 a.m. The Defendant

shall remain in Federal custody pending further order of the District Judge. The Defendant shall

attend all Court hearings in this case.

          All motions for a departure or pursuant to United States v. Booker, 125 S.Ct. 738 (2005)

must be filed at least five (5) days before the sentencing hearing.

          In accordance with LCrR 32.01(c), at least seven (7) days prior to the sentencing date, the

parties shall file a “Position of the (Government or Defendant) with Respect to Sentencing

Factors,” containing only unresolved objections to the Presentence Report. If the parties have no

objections to the Presentence Report, they shall so indicate in their “Position” filed with the

Court. The parties shall also serve a copy of their “Position” on the Probation Office upon its

filing.

          IT IS SO ORDERED.



                                                        __________________________________
                                                        TODD J. CAMPBELL
                                                        UNITED STATES DISTRICT JUDGE




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